Case 5:10-cv-05068-LS Document 1 Filed 09/28/10 Page 1 of 9
Case 5:10-cv-05068-LS Document 1 Filed 09/28/10 Page 2 of 9
Case 5:10-cv-05068-LS Document 1 Filed 09/28/10 Page 3 of 9
Case 5:10-cv-05068-LS Document 1 Filed 09/28/10 Page 4 of 9
Case 5:10-cv-05068-LS Document 1 Filed 09/28/10 Page 5 of 9
Case 5:10-cv-05068-LS Document 1 Filed 09/28/10 Page 6 of 9
Case 5:10-cv-05068-LS Document 1 Filed 09/28/10 Page 7 of 9
Case 5:10-cv-05068-LS Document 1 Filed 09/28/10 Page 8 of 9
Case 5:10-cv-05068-LS Document 1 Filed 09/28/10 Page 9 of 9
